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 8
 9                                  UNITED STATES DISTRICT COURT
10                                NORTHERN DISTRICT OF CALIFORNIA
11
     BRIAN HOFER and JONATHAN HOFER,
12                                                         Case No. 3:19-cv-02205-JSC
                    Plaintiffs,
13                                                         SECOND AMENDED COMPLAINT AND
     v.                                                    JURY DEMAND
14
     KYLE EMLEY, a Contra Costa County Deputy
15   Sheriff, in his individual capacity, WILLIAM
     ODOM, a Contra Costa County Deputy Sheriff,
16   in his individual capacity, BRANDON GANT,
     a Contra Costa County Deputy Sheriff, in his
17   individual capacity, Defendant DOE 1, a
     Contra County Deputy Sheriff, in his individual
18   capacity, COUNTY OF CONTRA COSTA, a
     municipal corporation, GETAROUND, INC.,
19   and Does 2 to 50,
20                  Defendants.
21
22          Plaintiffs Brian Hofer and Jonathan Hofer file this Second Amended Complaint against
23   Defendants based upon the following:
24
25          1.      This is a civil rights case based on Defendants’ violation of the Fourth Amendment’s
26   prohibition against unreasonable searches and seizures, and several state torts. Contra Costa County
27   Sheriff’s Deputies stopped, searched, detained, and arrested Plaintiffs without probable cause to
28   believe they committed a crime, and searched their vehicle and belongings without probable cause or
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 1   a warrant. Defendants’ unlawful actions endangered Plaintiffs’ lives, violated their civil rights, and
 2   caused them physical and emotional injuries.
 3                                                  PARTIES
 4          2.      Plaintiff BRIAN HOFER (“BRIAN”) is and was at all times relevant to this action an
 5   individual residing in Oakland, California.
 6          3.      Plaintiff JONATHAN HOFER (“JONATHAN”) is and was at all times relevant to this
 7   action an individual residing in Oakland, California.
 8          4.      Defendant KYLE EMLEY (“EMLEY”) was at all times relevant to this action a
 9   Deputy Sheriff for Contra Costa County acting within the course and scope of his employment and
10   under color of state law.
11          5.      Defendant BRANDON GANT (“GANT”) was at all times relevant to this action a
12   Deputy Sheriff for Contra Costa County acting within the course and scope of his employment and
13   under color of state law.
14          6.      Defendant WILLIAM ODOM (“ODOM”) was at all times relevant to this action a
15   Deputy Sheriff for Contra Costa County acting within the course and scope of his employment and
16   under color of state law.
17          7.      Defendant DOE 1 is sued herein under a fictitious name. His true name is unknown to
18   Plaintiffs. When his true name is ascertained, Plaintiffs will seek leave of Court to amend this
19   Complaint by adding DOE 1’s real name. DOE 1 was at all times relevant to this action a Deputy
20   Sheriff for Contra Costa County acting within the course and scope of his employment and under
21   color of state law.
22          8.      Defendant COUNTY OF CONTRA COSTA (“CONTRA COSTA”), California, is and
23   was a municipal corporation at all times relevant to this action. CONTRA COSTA owns, operates,
24   manages, directs, and controls the Contra Costa County Sheriff’s Office, and at all times relevant to
25   this action employed EMLEY, GANT, ODOM, and DOE 1. Throughout the incident that is the
26   subject of this Complaint, EMLEY, GANT, ODOM, and DOE 1 followed CONTRA COSTA’s
27   policies and practices.
28

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 1          9.      Defendant GETAROUND, INC. (“GETAROUND”) is a car sharing platform, whereby
 2   private vehicle owners rent their vehicles to other private parties. GETAROUND also provides its
 3   own vehicles to the platform for rental by private parties. The car BRIAN rented at the time of the
 4   events in this Complaint was owned by GETAROUND.1
 5          10.     Defendant DOES 2-50 are actors who participated in the constitutional violations
 6   and/or torts alleged in this Complaint. When their true names are ascertained, Plaintiffs will seek leave
 7   of Court to add those DOES to the Complaint by their real names.
 8                                      JURISDICTION AND VENUE
 9          11.     Jurisdiction is founded upon 28 U.S.C. §§ 1331 and 1343(a)(3) and (4) because it is
10   brought to obtain compensatory and punitive damages for the deprivation, under color of state law, of
11   the rights of citizens of the United States that are secured by the United States Constitution, pursuant
12   to 42 U.S.C. §§ 1983 and 1988. Plaintiffs bring this action for violation of the Fourth Amendment to
13   the United States Constitution. The Court also has supplemental jurisdiction pursuant to 28 U.S.C.
14   § 1367 to hear and decide Plaintiffs’ claims arising under state law.
15          12.     Intradistrict Assignment: A substantial part of the acts and omissions in this
16   Complaint occurred in the County of Contra Costa, California. Pursuant to Civil L.R. 3-2(d) this case
17   is properly assigned to the Oakland or San Francisco Division of the Court.
18                                                   FACTS
19          13.     On November 21, 2018, BRIAN rented a car from GETAROUND so that he and his
20   brother JONATHAN could travel north to visit family for the Thanksgiving holiday. Brian rented the
21   car without incident.
22          14.     On November 25, 2018, BRIAN and JONATHAN were returning to Oakland from the
23   holiday in the GETAROUND car, driving west on I-80 near San Pablo, California. At approximately
24   6:50 p.m., they were stopped by a Contra Costa Sheriff’s deputy, later identified as GANT. After
25   tailing them for a period of time, GANT turned on his overhead lights and directed BRIAN over the
26
27
     1
      Plaintiffs do not offer new allegations against Getaround following their First Amended Complaint
28   and do not ask the Court to revisit its order staying their claim against Getaround.
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 1   loudspeaker to exit the freeway. BRIAN was neither exceeding the speed limit nor violating any other
 2   laws.
 3           15.    BRIAN complied and exited I-80 by taking the San Pablo Dam Road off-ramp, and he
 4   pulled into a well-lit shopping center parking lot near Ross Dress for Less and Jack in the Box.
 5   BRIAN put the car into park, turned off the engine, and turned on the inside dome light so that the
 6   officer could easily see inside the car.
 7           16.    At this time, two additional Sheriff vehicles surrounded BRIAN and JONATHAN’s
 8   vehicle. The drivers of the other two police vehicles were later identified as EMLEY and ODOM.
 9           17.    Next, GANT told BRIAN that “you probably have some idea what is going on,” but
10   made no attempt to explain why he pulled them over. BRIAN stated to GANT that he did not have
11   any idea what was going on, and BRIAN requested that GANT check their identification and discuss
12   the matter with them. GANT did not do so.
13           18.    GANT next directed BRIAN to remove the car key from the ignition and place it on
14   the roof of the vehicle, which BRIAN did.
15           19.    GANT next directed BRIAN to place both hands outside the driver’s window, which
16   BRIAN did.
17           20.    GANT next directed JONATHAN to place both hands outside the passenger window.
18   BRIAN informed GANT that this was impossible, as the power window was rolled up, and without
19   the key to turn on the engine, the window could not be opened. GANT acknowledged this.
20           21.    GANT next directed BRIAN to open his driver side door, place his hands behind his
21   head, and walk backwards towards the sound of GANT’s voice. This was when BRIAN noticed
22   GANT was pointing his gun at him, as was EMLEY.
23           22.    BRIAN complied with GANT’s directions. As BRIAN reached GANT, GANT
24   grabbed BRIAN’s hands and handcuffed them behind his back. GANT made no attempt to check
25   BRIAN’s identification or ask any questions about the car, BRIAN or JONATHAN.
26           23.    GANT placed BRIAN in the back of GANT’s vehicle.
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 1          24.     EMLEY and GANT next directed JONATHAN to exit the passenger side door in a
 2   similar manner as BRIAN. From the back of GANT’s vehicle, BRIAN saw that deputies GANT,
 3   EMLEY, and ODOM all had their guns drawn and pointed at JONATHAN.
 4          25.     JONATHAN complied with the officers’ directions, walking backwards slowly and
 5   non-threateningly towards EMLEY.
 6          26.     For no apparent reason, EMLEY started screaming at JONATHAN and pushed
 7   JONATHAN to his knees, facing away from EMLEY. In full view of BRIAN, EMLEY pointed his
 8   gun to the back of JONATHAN’s head, execution-style. BRIAN was terrified that if he yelled,
 9   EMLEY would shoot JONATHAN in the head, so he stayed quiet and still in GANT’s car. EMLEY
10   next slammed JONATHAN forward to the ground, injuring JONATHAN.
11          27.     EMLEY then handcuffed JONATHAN behind his back, and placed JONATHAN in
12   the back of EMLEY’s vehicle.
13          28.     GANT, ODOM, and EMLEY made no attempt to identify BRIAN or JONATHAN, or
14   to communicate any information about why they were brutally apprehending BRIAN and
15   JONATHAN.
16          29.     The three officers next searched BRIAN’s rental vehicle, opening all doors and the
17   closed trunk. GANT unzipped the suitcases in the trunk and examined the contents of the luggage,
18   which contained clothing.
19          30.     The officers did not have a warrant to search the vehicle and its contents and at no time
20   did BRIAN or JONATHAN consent to those searches. The officers also did not have a warrant to
21   search or arrest BRIAN or JONATHAN.
22          31.     GANT finally asked BRIAN for his identification. Still handcuffed, BRIAN directed
23   GANT to his front pocket and GANT removed BRIAN’s wallet containing his driver’s license.
24   GANT presumably called dispatch using his radio to check BRIAN’s identification.
25          32.     EMLEY did the same to JONATHAN, also still handcuffed, removing JONATHAN’S
26   identification and using his radio to inquire.
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 1            33.     GANT next walked over to BRIAN and finally stated that the ALPR registered the
 2   car’s license plate as a “hit” against a stolen vehicle “hot list.” BRIAN and JONATHAN do not know
 3   if a “hot list” existed or, if it did, whether the vehicle BRIAN rented actually appeared on it.
 4            34.     BRIAN explained that he had rented the car from GETAROUND, which presumably
 5   would not have rented him a stolen vehicle. GANT asked BRIAN for the rental paperwork, and
 6   BRIAN told GANT that he booked the rental through an application on his smartphone, which was
 7   still in the vehicle.
 8            35.     GANT fetched the phone and walked over to BRIAN, demanding the passcode.
 9   BRIAN refused to provide GANT the code and asked to enter it himself. GANT denied this request
10   and said BRIAN had “no choice” but to provide him the passcode. BRIAN did not know if this meant
11   GANT would shoot him if he refused, beat him, take him to the police station, or take some other
12   unlawful action in addition to demanding the passcode to his phone, which had stored on it a digital
13   record of nearly every aspect of BRIAN’s life. BRIAN reluctantly gave GANT the code.
14            36.     Neither GANT nor the other officers on the scene had a warrant to search BRIAN’s
15   phone.
16            37.     GANT opened the phone’s screen and searched BRIAN’s phone. The GETAROUND
17   application showed an active car rental. GANT walked away with BRIAN’s unlocked phone to talk to
18   the other officers. BRIAN does not know the extent to which GANT further searched his phone
19   outside of his presence.
20            38.     GANT then called GETAROUND. GETAROUND confirmed to GANT that BRIAN
21   had rented the car as he claimed.
22            39.     GANT next removed BRIAN from the vehicle and took off the handcuffs. EMLEY did
23   the same for JONATHAN. By this time, BRIAN and JONATHAN had been in police custody for
24   approximately forty minutes.
25            40.     ODOM told BRIAN that he “told the others the “hit” made no sense.”
26            41.     GANT informed BRIAN that they could not yet leave, as he was waiting on his
27   supervisor, DOE 1, to bring some paperwork. DOE 1 arrived but did not speak to BRIAN or
28   JONATHAN.

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 1           42.     DOE 1 handed GANT a single sheet of mostly blank paper, and GANT asked BRIAN
 2   to sign it, stating that by signing it, BRIAN was acknowledging that he had been detained for longer
 3   than 15 minutes. BRIAN signed it. No such paperwork was presented to JONATHAN.
 4           43.     GANT, ODOM, EMLEY, and DOE 1 each either used forced against BRIAN and
 5   JONATHAN and/or, as armed back up, were integral participants in the use of force.
 6           44.     At no time did GANT, ODOM, EMLEY, or DOE 1 intervene or attempt to intervene to
 7   stop the other officers’ excessive use of force or illegal searches.
 8           45.     BRIAN and JONATHAN left the scene and returned the vehicle to the GETAROUND
 9   lot in Oakland, near where they lived.
10           46.     BRIAN and JONATHAN timely and properly filed government code claims against
11   CONTRA COSTA pursuant to California Government Code § 910 et seq, and this action is timely
12   filed within all applicable statutes of limitation.
13           47.     Communications and reporting among Defendants CONTRA COSTA, GANT,
14   EMLEY, ODOM, GETAROUND, and the DOES regarding the car BRIAN rented are within the
15   exclusive control of those Defendants. Although BRIAN and JONATHAN have obtained limited
16   information from Defendants and other entities, BRIAN and JONATHAN do not, at this time, have
17   any idea about the accuracy or completeness of that information.
18                                             County of Contra Costa
19           48.     The Contra Costa County Sheriff acts as the final policymaker for CONTRA COSTA
20   with respect to the policies and practices of Deputy Sheriffs.
21           49.     The Contra Costa County Sheriff made a public statement about the incident with
22   BRIAN and JONATHAN on November 25, 2018, including: “The Deputy Sheriffs involved in this
23   case followed procedure and acted appropriately.”
24           50.     GANT, EMLEY, ODOM, and DOE 1’s actions with BRIAN and JONATHAN were
25   consistent with and pursuant to the policies, practices, and customs of CONTRA COSTA.
26                                                    Getaround
27           51.     After the vehicle was recovered in San Jose by the unnamed driver and placed back
28   into their platform to be rented again, GETAROUND failed to notify San Jose’s police department of

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 1   the recovery, or failed to notify the department in a way that was likely to cause the department to
 2   accurately document that it was not stolen.
 3             52.   GETAROUND did not notify San Jose’s police department of the recovery in writing,
 4   speak to the officer in charge of the investigation, or send someone to the police station to obtain
 5   confirmation that the car was no longer considered stolen. GETAROUND’s failure to take such
 6   reasonable steps endangered the lives of all future renters of that vehicle.
 7             53.   GETAROUND’s failure to notify San Jose’s police department of the car’s recovery,
 8   or failure to notify the department in a meaningful way, resulted in the vehicle remaining in a stolen
 9   vehicle database until at least November 25, when BRIAN and JONATHAN were pulled over.
10             54.   GETAROUND harmed BRIAN and JONATHAN by renting BRIAN a reportedly
11   stolen vehicle. GETAROUND also breached its duty to renters of its vehicles and their passengers to
12   update information it provides to police agencies regarding the status of its vehicles that were reported
13   stolen.
14                                                   Damages
15             55.   BRIAN and JONATHAN suffered a deprivation of their liberty as a result of their
16   detention and arrest by CONTRA COSTA deputies.
17             56.   BRIAN also suffered a deprivation of his right to be free from unreasonable searches
18   when Contra Costa deputies searched his person, vehicle, trunk, luggage, and mobile phone.
19   JONATHAN suffered a deprivation of his right to be free from unreasonable searches when
20   CONTRA COSTA deputies searched his person and luggage.
21             57.   BRIAN and JONATHAN suffered severe emotional distress from having guns pointed
22   at them, being handcuffed and detained, and otherwise being subjected to excessive force and treated
23   like violent criminals.
24             58.   JONATHAN suffered bruises from being thrown to the ground and an injury to his
25   hand that may require surgery.
26             59.   BRIAN suffered acute emotional trauma from witnessing EMLEY pointing his gun at
27   the back of JONATHAN’s head while he was on his knees and posed absolutely no threat to EMLEY.
28

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 1                       COUNT ONE: 42 U.S.C. § 1983 (FOURTH AMENDMENT)
 2                             AGAINST CONTRA COSTA COUNTY

 3          60.     Pursuant to the foregoing, the actions of the Deputy Sheriff Defendants were consistent

 4   with and pursuant to the policies, practices, and customs of CONTRA COSTA.

 5          61.     Those County policies, practices, and customs through which the Deputy Sheriff

 6   Defendants violated BRIAN and JONATHAN’s Fourth Amendment rights were the moving force

 7   behind the harm done to BRIAN and JONATHAN.

 8          62.     CONTRA COSTA also ratified the actions of the Deputy Sheriff Defendants.

 9          63.     CONTRA COSTA is liable for BRIAN and JONATHAN’s damages under the doctrine

10   of municipal liability.

11                      COUNT TWO: 42 U.S.C. § 1983 (FOURTH AMENDMENT)
                            AGAINST GANT, ODOM, EMLEY, and DOE 1
12
13          64.     Pursuant to the foregoing, Defendants violated Plaintiff’s rights under the Fourth

14   Amendment to the United States Constitution to be free from unreasonable searches and seizures.

15          65.     Defendants stopped, detained, and arrested BRIAN and JONATHAN without a

16   warrant and without probable cause.

17          66.     Defendants further conducted a warrantless search of BRIAN and JONATHAN’s trunk

18   and suitcases, and coerced BRIAN to provide the password to his phone and searched it.

19          67.     Throughout the ordeal, Defendants’ used excessive force against BRIAN and

20   JONATHAN.

21          68.     Defendants’ Fourth Amendment violations caused BRIAN and JONATHAN damages

22   for which they are entitled to recovery.

23                               COUNT THREE: BANE ACT
                    AGAINST CONTRA COSTA, GANT, ODOM, EMLEY, and DOE 1
24
            69.     As set forth above, Defendants, acting alone or in concert, intentionally interfered with,
25
     or attempted to interfere with, BRIAN and JONATHAN’s civil rights by threats, intimidation, or
26
     coercion.
27
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 1           70.      Defendants made threats of violence and committed acts of violence against BRIAN
 2   and JONATHAN, causing them physical and emotional injuries.
 3           71.      Defendants also interfered with, attempted to interfere with, and violated BRIAN and
 4   JONATHAN’s rights as follows:
 5                 a. The Fourth Amendment right to protection from the use of excessive force and
 6                    unreasonable searches at the hands of police officers;
 7                 b. The right to be free from the use of excessive force and unreasonable searches as
 8                    secured by the California Constitution, Article 1, Section 13;
 9                 c. The right to privacy secured by the California Constitution Article 1, Section 1;
10                 d. The right to protection from bodily restraint, harm, or personal insult, as secured by
11                    California Civil Code § 43.
12           72.      The threats, intimidation, and coercion described in this complaint were not necessary
13   or inherent to Defendants’ violation of BRIAN and JONATHAN’s rights, or to any legitimate police
14   activity.
15           73.      Further, in the alternative or concurrently, Defendants’ violations of duties and rights
16   and coercive conduct were volitional acts; not accidental or merely negligent.
17           74.      As a direct and proximate result of Defendants’ violation of California Civil Code
18   § 52.1 and of BRIAN and JONATHAN’s rights under the United States and California’s Constitution
19   and law, they sustained injuries and damages for which they are entitled to compensation.
20                                COUNT FOUR: ASSAULT & BATTERY
                             AGAINST CONTRA COSTA, GANT, ODOM, EMLEY
21
22           75.      As set forth above, Defendants GANT, ODOM, and EMLEY committed Assault and

23   Battery against BRIAN and JONATHAN.

24           76.      CONTRA COSTA is liable for GANT, ODOM, and EMLEY’s Assault and Battery

25   under Government Code § 815.2(a).

26           77.      Defendants wrongful acts were a direct and proximate cause of BRIAN and

27   JONATHAN’s injuries and damages, for which they are entitled to compensation.

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 1                             COUNT FIVE: FALSE IMPRISONMENT
                           AGAINST CONTRA COSTA, GANT, ODOM, EMLEY
 2
 3          78.      As set forth above, Defendants GANT, ODOM, and EMLEY committed False

 4   Imprisonment against BRIAN and JONATHAN.

 5          79.      CONTRA COSTA is liable for GANT, ODOM, and EMLEY’s False Imprisonment

 6   under Government Code § 815.2(a).

 7          80.      Defendants wrongful acts were a direct and proximate cause of BRIAN and

 8   JONATHAN’s injuries and damages, for which they are entitled to compensation.

 9             COUNT SIX: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                      AGAINST CONTRA COSTA, GANT, ODOM, EMLEY
10
            81.      As set forth above, Defendants GANT, ODOM, and EMLEY committed Intentional
11
     Infliction of Emotional Distress against BRIAN and JONATHAN.
12
            82.      CONTRA COSTA is liable for GANT, ODOM, and EMLEY’s Intentional Infliction of
13
     Emotional Distress under Government Code § 815.2(a).
14
            83.      Defendants wrongful acts were a direct and proximate cause of BRIAN and
15
     JONATHAN’s injuries and damages, for which they are entitled to compensation.
16
17                         COUNT SEVEN: NEGLIGENCE
        AGAINST CONTRA COSTA, GANT, ODOM, EMLEY, DOES 1-50, and GETAROUND
18          84.      In the alternative to the intentional conduct alleged above against GANT, ODOM,
19   EMLEY, and DOE 1, those Defendants negligently breached their duty of care when conducting the
20   traffic stop of BRIAN and JONATHAN. CONTRA COSTA is liable for GANT, ODOM, EMLEY,
21   and DOE 1’s negligence under Government Code § 815.2(a).
22          85.      Defendants’ negligent acts were a direct and proximate cause of BRIAN and
23   JONATHAN’s injuries and damages, for which they are entitled to compensation.
24
25          WHEREFORE, Plaintiffs BRIAN HOFER and JONATHAN HOFER demand trial by jury and
26   judgment in their favor as follows:
27                a. Compensatory damages in an amount to be proven at trial;
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 1          b. Punitive damages;
 2          c. Costs of suit;
 3          d. Attorney’s fees as provided by law; and
 4          e. Such other and further relief in favor of Plaintiffs as is just and proper.
 5
                                                Respectfully submitted,
 6
                                                /s/ Glenn Katon
 7                                              Glenn Katon
 8
                                                ATTORNEY FOR PLAINTIFFS
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